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              Exhibit 1
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February 15, 2017

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usdoj-officeoflegalcounsel@usdoj.gov                        Room 7300, 600 E St. NW
                                                            Washington, DC 20530
Laurie Day, Chief, Initial Request Staff
Office of Information Policy
Department of Justice
Suite 11050, 1425 New York Avenue NW                        Via mail, email, and online request form
Washington, DC 2053

Re:     Request Under Freedom of Information Act
        (Fee Waiver/Limitation Requested)

To Whom It May Concern:

        The Campaign Legal Center submits this Freedom of Information Act (“FOIA”) request
(the “Request”) for records pertaining to the Department of Justice and Office of Management
and Budget’s writings and communications regarding President Trump’s allegations of
widespread voter fraud, his proposal for “a major investigation into VOTER FRAUD, including
those registered to vote in two states, those who are illegal and …. even, those who registered to
vote who are dead (and many for a long time)”, and his proposals to “strengthen up voter
procedures.” 1

                                                Background

       During the 2016 presidential campaign, Mr. Trump suggested that the election would be
“rigged,” that “cheating” could steal the election, and that our elections are marred by
widespread fraud. 2 His remarks were not only unsupported by any evidence, 3 but they also

1
  Donald Trump, Twitter (Jan. 25, 2017, 5:10 AM EST) (Jan. 25, 2017, 5:13 AM EST),
https://twitter.com/realDonaldTrump/status/824227824903090176?ref_src=twsrc%5Etfw,
https://twitter.com/realDonaldTrump/status/824228768227217408.
2
  See, e.g., Greg Stohr, Trump Says Polling-Place Cheating is Leading to ‘Rigged’ Election, Bloomberg Politics
(Oct. 16, 2016), https://www.bloomberg.com/politics/articles/2016-10-16/trump-surrogates-say-democrats-cheating-

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suggested a motive to target minority voters. His focus on “certain sections” of Pennsylvania was
understood by many commentators as a dog-whistle reference to black areas of Philadelphia, 4
and many of his surrogates also focused their fraud allegations on the “inner cities.” 5 After his
election, Mr. Trump continued his false claims of rampant voter fraud. On November 27, 2016,
he asserted—without evidence—that he “won the popular vote if you deduct the millions of
people who voted illegally.” 6

        Since the inauguration, Mr. Trump has used the office of the Presidency to continue his
false claims of rampant voter fraud. Days after the inauguration, he repeated his claim that
millions voted unlawfully in the 2016 election while in a meeting with top Congressional
leaders. 7 The next day, when asked about this debunked claim, the White House press secretary
reaffirmed that “the President does believe that…[he] has believed that for a while.” 8 Unable to
cite any data for his allegations, 9 Mr. Trump has relied on the allegations of conservative activist
Gregg Phillips and organizations such as True the Vote for his claims: “Look forward to seeing
final results of VoteStand. Gregg Phillips and crew say at least 3,000,000 votes were illegal. We
must do better!” 10 But these claims are not supported by any credible evidence whatsoever. 11
Indeed, Republican leaders, including Senate Majority Leader Mitch McConnell and House

in-urban-areas-voting; Edward Helmore, Trump recruits ‘election observers’ as he warns of potential voter fraud,
The Guardian (Aug. 13, 2016), https://www.theguardian.com/us-news/2016/aug/13/trump-recruits-election-
observers-voter-intimidation-fears.
3
  See Republicans and Democrats Agree There is No Widespread Voter Fraud, Campaign Legal Center Blog (Jan.
25, 2017), http://www.campaignlegalcenter.org/news/blog/republicans-and-democrats-agree-there-no-widespread-
voter-fraud (collecting studies demonstrating the rarity of voter fraud and statements by officials on both sides of the
aisle agreeing that voter fraud is not a widespread problem).
4
  Michael Finnegan, Warning of election fraud, Trump sparks fear that his backers may intimidate voters, Los
Angeles Times (Aug. 12, 2016), http://www.latimes.com/politics/la-na-pol-trump-vote-fraud-20160812-snap-
story.html; Philip Bump, Trump says he will only lose Pennsylvania if there’s widespread voter fraud. That’s very
wrong, Washington Post (Oct. 1, 2016), https://www.washingtonpost.com/news/the-fix/wp/2016/08/12/donald-
trump-says-hell-only-lose-pennsylvania-where-hes-down-9-points-is-if-cheating-goes-
on/?tid=a_inl&utm_term=.c0a13af1bb13.
5
  See Stohr, supra.
6
  Donald Trump, Twitter (Nov. 27, 2016, 1:30 PM EST),
https://twitter.com/realDonaldTrump/status/802972944532209664; see also id. (Nov. 27, 2016, 5:31 PM EST)
https://twitter.com/realDonaldTrump/status/803033642545115140 (alleging “serious voter fraud in Virginia, New
Hampshire and California” without evidence); id. (Nov. 28, 2016, 9:14 PM EST) (Nov. 28, 2016, 9:19 PM EST)
(Nov. 28, 2016, 9:21 PM EST) (retweeting supporters’ criticism of reporters for reporting on Mr. Trump’s debunked
voter            fraud           claims),          https://twitter.com/realDonaldTrump/status/803421742815412224,
https://twitter.com/realDonaldTrump/status/803423203620245504,
https://twitter.com/realDonaldTrump/status/803423503978532864.
7
  Kevin Liptak &Dan Merica, Trump believes millions voted illegally, WH says – but provides no proof , CNN (Jan.
25, 2017), http://www.cnn.com/2017/01/24/politics/wh-trump-believes-millions-voted-illegally.
8
  Id.
9
  The author of the PEW study Sean Spicer cited as evidence for Mr. Trump’s “beliefs” has repeatedly explained
that his study provides no support for voter fraud claims. Jennifer Calfas, Pew study author: ‘Zero evidence of fraud’
in 2016 election, The Hill (Jan. 24, 2017), http://thehill.com/blogs/blog-briefing-room/news/315914-author-of-
study-spicer-cited-we-found-no-evidence-of-voter.
10
          Donald        Trump,          Twitter       (Jan.         27,      2017,       6:12         AM          EST),
https://twitter.com/realDonaldTrump/status/824968416486387713.
11
   Allison Graves, Fact-check: Did 3 million undocumented immigrants vote in this year’s election?, Politifact (Nov.
18, 2016), http://www.politifact.com/punditfact/statements/2016/nov/18/blog-posting/no-3-million-undocumented-
immigrants-did-not-vote-

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Speaker Paul D. Ryan, have affirmed that these allegations have no basis in fact. 12 Secretaries of
State from across the nation, who are charged with administering elections, also have rebutted
these claims. 13

        Mr. Trump and his surrogates have also tried to argue that inaccuracies in state voter
registration lists, such as duplicate registrations or lingering registrations of dead citizens,
demonstrate voter fraud. 14 But errors in voter registration lists do not in any way prove voter
fraud. They merely demonstrate that the voter registration bureaucracy does not always catch up
with citizens who move or die. Indeed, it was quickly discovered that quite a few individuals in
Mr. Trump’s inner circle are registered in several states. 15 The author of a leading report on voter
registration errors has explained this repeatedly. 16 Neither Mr. Trump nor his surrogates have
pointed to any evidence that these double-registered individuals are voting in more than one
place or that votes are cast in the name of dead registrants.

        But despite broad bipartisan consensus that these claims are factually baseless and
without merit, Mr. Trump has pledged to spend scarce government resources on a “major
investigation” to attempt to justify his allegations. 17 He has also said that he will use the results
of that “investigation” to “strengthen up procedures.” While Mr. Trump has not specified what
measures he believes would “strengthen up procedures,” his focus on baseless allegations of


12
   Eric Bradner, McConnell: No federal money should be spent on Trump’s voter fraud investigation, CNN (Feb. 5,
2017), http://www.cnn.com/2017/02/05/politics/mitch-mcconnell-voter-fraud-states-trump/index.html; Dan Balz,
Trump’s voter fraud claims undermine the democratic process and his presidency, Washington Post (Jan. 25, 2017),
https://www.washingtonpost.com/politics/trumps-voter-fraud-claims-undermine-the-voting-system-and-his-
presidency/2017/01/24/a71d58ee-e288-11e6-a453-
19ec4b3d09ba_story.html?utm_term=.3f13af8489c6&wpisrc=nl_politics&wpmm=1.
13
    National Association of Secretaries of State, Jan. 24 Statement by NASS (Jan. 24, 2017),
http://www.nass.org/news-releases-and-statements/release-nass-statement-election-integrity-jan17/ (“We are not
aware of any evidence that supports the voter fraud claims made by President Trump, but we are open to learning
more about the Administration’s concerns. In the lead up to the November 2016 election, secretaries of state
expressed their confidence in the systemic integrity of our election process as a bipartisan group, and they stand
behind that statement today.”); see also Michael D. Shear & Peter Baker, After His Claim of Voter Fraud, Trump
Vows ‘Major Investigation’, N.Y. Times (Jan. 25, 2017), https://www.nytimes.com/2017/01/25/us/politics/trump-
voting-fraud-false-claim-investigation.html (noting the objections of several state election officials including
Republican Ohio Secretary of State Jon A. Husted).
14
   See Glenn Kessler, Stephen Miller’s bushels of Pinocchios for false voter-fraud claims, Washington Post (Feb. 12,
2017), https://www.washingtonpost.com/news/fact-checker/wp/2017/02/12/stephen-millers-bushels-of-pinocchios-
for-false-voter-fraud-claims/?utm_term=.c18e09d23302 (quoting Stephen Miller, a White House policy advisor:
“But I can tell you this, voter fraud is a serious problem in this country. You have millions of people who are
registered in two states or who are dead who are registered to vote.”); Alan Yuhas, Pence to head commission
investigating baseless voter fraud claim, Trump says, Guardian (Feb. 5, 2017), https://www.theguardian.com/us-
news/2017/feb/05/donald-trump-mike-pence-commission-voter-fraud (“In the weeks since Trump won the
presidency but lost the popular vote, he has falsely claimed that millions of people voted illegally, citing reports
about registration that do not make any assertion that people are committing fraud.”) (citing Mr. Trump during an
interview with Bill O’Reilly: “When you look at the registration and you see dead people that have voted; when you
see people that are registered in two states, that have voted in two states, when you see other things, when you see
illegals, people that are not citizens and they are on the registration rol[ls].”).
15
   Erin McAnn, Who is Registered to Vote in Two States? Some in Trump’s Inner Circle, NY Times (Jan. 27, 2017),
16
   Calfas, supra.
17
   Donald Trump, Twitter (Jan. 25, 2017, 5:10 AM EST),
https://twitter.com/realDonaldTrump/status/824227824903090176?ref_src=twsrc%5Etfw.

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fraud rather than on vetted best practices for election modernization 18 have left many advocates
concerned that the investigation is the first step in an agenda to make it harder to vote. 19 In an
interview with Bill O’Reilly on February 5, Mr. Trump suggested that he would create a
commission to conduct this “investigation” and would appoint Vice President Pence to head that
commission. 20 No further details about this “commission” have been revealed.

        FOIA entitles the American public to information relevant to how federal agencies are
being put to work to further Mr. Trump’s baseless allegations of voter fraud. This information is
vital to the public’s role in holding this Administration accountable and ensuring that
investigatory resources are used to further the neutral pursuit of accurate information. The
Campaign Legal Center seeks such information through this FOIA Request.

                                             Requested Records

         The Campaign Legal Center seeks the release of the following records created on or
between November 9, 2016 and the present:
http://electionlawblog.org/?p=91110#more-91110
    1. Legal opinions, memoranda, emails, or advisories that contain information regarding:
             a. President Trump’s public voter fraud allegations,
             b. any actual or potential investigation into alleged voter fraud,
             c. any actual or potential executive order related to alleged voter fraud,
             d. the creation of a commission or other agency to investigate or otherwise address
                alleged voter fraud, or any proposal to create such commission or agency,
             e. any private organization, such as True the Vote or King Street Patriots, that
                addresses claims of voter fraud or electoral integrity, or
             f. any potential amendments to the National Voter Registration Act.
    2. Policy, educational, or program-management memoranda, advisories, or evaluations
         addressing:
             a. President Trump’s public voter fraud allegations,
             b. any actual or potential investigation into alleged voter fraud,
             c. any actual or potential executive order related to alleged voter fraud,
             d. the creation of a commission or other agency to investigate or otherwise address
                alleged voter fraud, or any proposal to create such commission or agency,
             e. any private organization, such as True the Vote or King Street Patriots, that
                addresses claims of voter fraud or electoral integrity, or
             f. any potential amendments to the National Voter Registration Act.


18
   If Mr. Trump is in fact concerned with updating our voter registration systems, there are several vetted best
practices he could support and fund, such as automatic voter registration and state participation in the Electronic
Registration Information Center, a multi-state partnership that provides sophisticated and secure voter registration
data-matching across states. See Brennan Center for Justice, The Case for Automatic Voter Registration (Sept. 22,
2015), https://www.brennancenter.org/publication/case-automatic-voter-registration; PEW Charitable Trusts,
Electronic         Registration      Information       Center,        http://www.pewtrusts.org/en/projects/election-
initiatives/about/upgrading-voter-registration/eric.
19
    Dale Ho, Trump’s Lies Pave the Way for an Assault on Voting Rights, NY Times (Jan. 26, 2017),
https://www.nytimes.com/2017/01/26/opinion/trumps-lies-pave-the-way-for-an-assault-on-voting-rights.html.
20
   Yuhas, supra.

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     3. Communications, including but not limited to emails, 21 letters, social-media posts, and
        Twitter direct messages to or from:
           a. the presidential transition team about voter fraud or electoral integrity,
           b. Kris Kobach, Kansas Secretary of State, or
           c. Gregg Phillips, Catherine Engelbrecht, or any employee of any private
               organization, such as True the Vote or King Street Patriots, that addresses claims
               of voter fraud or electoral integrity.
     4. Communications, including but not limited to emails, 22 letters, social-media posts, and
        Twitter direct messages addressing:
           a. President Trump’s public voter fraud allegations,
           b. any actual or potential investigation into alleged voter fraud
           c. any actual or potential executive order related to alleged voter fraud,
           d. the creation of a commission or other agency to investigate or otherwise address
               alleged voter fraud, or any proposal to create such commission or agency,
           e. any private organization, such as True the Vote or King Street Patriots, that
               addresses claims of voter fraud or electoral integrity, or
           f. any potential amendments to the National Voter Registration Act.

        With respect to the form of production, see 5 U.S.C. § 552(a)(3)(B), CLC requests that
responsive electronic records be provided electronically in their native file format, if possible.
Alternatively, CLC requests that the records be provided electronically in a text-searchable,
static-image format (PDF), in the best image quality in the agency’s possession, and that the
records be provided in separate, Bates-stamped files.

                              Application for Waiver or Limitation of Fees

        CLC requests a waiver of document search, review, and duplication fees on the grounds
that disclosure of the requested records is in the public interest and because disclosure is “likely
to contribute significantly to public understanding of the operations or activities of the
government and is not primarily in the commercial interest of the requester.” 5 U.S.C. §
552(a)(4)(A)(iii).

        As discussed above, and as the cited news reports demonstrate, Mr. Trump’s baseless
allegations of fraud – and how he plans to pursue them with federal governmental resources – are
matters of vital public interest and has been the subject of widespread news coverage. Very little
information is publicly available about the specifics of any plans for a commission or
investigation, or about any federal agency conclusions about Mr. Trump’s public statements. The
documents sought will contribute to the public’s understanding of these important issues.

        CLC is not filing this request to further its commercial interest. CLC is a nonprofit,
nonpartisan 501(c)(3) organization. Any information disclosed to CLC by way of this request
will be made available to the public at no cost. CLC will also use documents responsive to the
request to create analytical content—from op-eds to reports to blogs—that will further educate

21
   Please note that this request applies to all emails, sent and received, on governmental email addresses, as well as
to all emails, sent and received, on all other email addresses and accounts used to conduct official business.
22
   See supra note 21.

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the public about these matters. Thus, CLC satisfies all the criteria for a fee waiver. A fee waiver
would further Congress’s intent in providing for waivers for noncommercial requesters. See
Judicial Watch, Inc. v. Rossotti, 326 F.3d 1309, 1312 (D.C. Cir. 2003) (“Congress amended
FOIA to ensure that it be liberally construed in favor of waivers for noncommercial requesters.”).

        CLC also requests a fee waiver on the grounds that CLC qualifies as a “representative of
the news media” and the records are not sought for commercial use. 5 U.S.C. §
552(a)(4)(A)(ii)(II). The CLC meets the statutory and regulatory definitions of a “representative
of the news media” because it is an “entity that gathers information of potential interest to a
segment of the public uses its editorial skills to turn the raw materials into a distinct work and
distributes that work to an audience.” 5 U.S.C. § 552(a)(4)(A)(ii)(III).

        As the D.C. Circuit has held, the “representative of the news media” test is focused on the
requestor rather than the specific FOIA request. Cause of Action v. FTC, 799 F.3d 1108, 1121
(D.C. Cir. 2015). CLC satisfies this test. CLC maintains a website 23 that provides a wealth of
editorial content about democracy law issues, including campaign finance, voting rights,
redistricting, and ethics. CLC also publishes a regularly updated blog with original editorial and
educational content, 24 and communicates its research analysis through multiple social media
platforms such as Facebook, Twitter, and Medium. 25 CLC also disseminates original editorial
and educational content to the public through op-eds, 26 press releases, 27 email newsletters, public
reports 28 , fact sheets, 29 videos, 30 and other materials. CLC staff is frequently interviewed for
news stories. 31 CLC additionally applies editorial skill to analyze and disseminate materials to
other news media outlets, which regularly cite and rely upon CLC’s work.

        The D.C. Circuit has held that a requester may qualify as a news media entity if it
“‘distribute[s] [its] work’ by issuing press releases to media outlets in order to reach the public
indirectly.” Cause of Action, 799 F.3d. at 1125-26. Courts have found that other organizations
with functionally similar missions engaged in similar public education activities qualify as
“representatives of the news media,” even if engaged in litigation or other advocacy beyond

23
   Campaign Legal Center, www.campaignlegalcenter.org.
24
   Blog, Campaign Legal Center, http://www.campaignlegalcenter.org/news/262.
25
   Campaign Legal Center, Facebook, https://www.facebook.com/CampaignLegalCenter/; Campaign Legal Center,
Twitter, https://twitter.com/CampaignLegal; Campaign Legal Center, Medium, https://medium.com/clc-blog.
26
   See e.g. Trevor Potter, Donald Trump Hasn’t Solved Any of His Conflicts of Interest, WASH. POST (Jan. 11, 2017),
https://www.washingtonpost.com/posteverything/wp/2017/01/11/donald-trump-hasnt-solved-any-of-his-conflicts-
of-interest/?utm_term=.0e80b538fb8f.
27
   Press Releases, Campaign Legal Center, http://www.campaignlegalcenter.org/news/286.
28
   See e.g., Make Democracy Count: Ending Partisan Gerrymandering, Campaign Legal Center (Aug. 10, 2016),
http://www.campaignlegalcenter.org/document/make-democracy-count-ending-partisan-gerrymandering;              Ruth
Greenwood, Analysis: Partisan Gerrymandering in the 2016 Election, Campaign Legal Center (Jan. 9, 2017),
http://www.campaignlegalcenter.org/news/blog/analysis-partisan-gerrymandering-2016-election;       Funding      the
Presidential Nominating Conventions: How a Trickle of Private Money Turned Into a Flood, Campaign Legal
Center (June 14, 2016), http://www.campaignlegalcenter.org/document/funding-presidential-nominating-
conventions-how-trickle-private-money-turned-flood.
29
   See e.g., Backgrounder: Record of Supreme Court Nominee Neil Gorsuch on Democracy Law, Campaign Legal
Center (Feb. 2, 2017), http://www.campaignlegalcenter.org/news/update/backgrounder-record-supreme-court-
nominee-neil-gorsuch-democracy-law.
30
   See e.g., http://www.campaignlegalcenter.org/news/press-releases/meet-victims-texas-voter-photo-id-law.
31
   Media Coverage, Campaign Legal Center, http://www.campaignlegalcenter.org/news/241.

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educating the public about the operations of government. See, e.g., Id. at 1121-25 (finding a
public interest advocacy organization that comments to other media outlets about documents it
obtains under FOIA a news media requester); Elec. Privacy Info. Ctr. v. DOD, 241 F. Supp. 2d
5, 10-15 (D.D.C. 2003) (finding nonprofit public interest group that published a biweekly email
newsletter a news media requester); Judicial Watch, Inc. v. DOJ, 133 F. Supp. 2d 52, 53-54
(D.D.C. 2000) (finding “public interest law firm” Judicial Watch a news media requester).

        “It is critical that the phrase ‘representative of the news media’ be interpreted broadly if
the act is work as expected, . . . In fact, any person or organization which regularly publishes or
disseminates information to the public . . . should qualify for waivers as a ‘representative of the
news media.’” 132 Cong. Rec. S14298 (daily ed. Sept. 30, 1986), cited in Nat’l Sec. Archive v.
U.S. Dep’t of Def., 880 F.2d 1381, 1386 (D.C. Cir. 1989). Given the foregoing, there can be no
doubt that CLC performs important functions as a “representative of the news media,” as defined
by the relevant statute and regulations.

        In the event the fee waiver is not granted, I may not be charged for the first two hours of
search time, or for the first hundred pages of duplication. Please contact me and advise me of the
cost of this request if processing costs exceed $100. You can contact me at 202-736-2200 or at
dlang@campaignlegalcenter.org.

                                            Conclusion

        Pursuant to statute, CLC expects a response to this Request within twenty working days.
5 U.S.C. § 552(a)(6)(A). If the Request is denied in total or in part, CLC asks that you justify all
deletions by reference to specific FOIA exemptions. If some portions of the requested records
are exempt from disclosure, please disclose any reasonably segregable non-exempt portions of
the requested records. 5 U.S.C. § 552(b). If any portion of the requested records is exempt from
disclosure, please provide an index of the withheld materials as required under Vaughn v. Rosen,
484 F.2d 820 (D.C. Cir. 1973).


       Thank you for your prompt attention to this matter. Where possible, please send the
requested records electronically via email to dlang@campainglegalcenter.org or on a data disk to
the address listed below. Please furnish all applicable paper records to: Campaign Legal Center,
c/o Danielle Lang, 1411 K Street NW, Suite 1400, Washington, DC 20005.


                                                  Respectfully,



                                                  Danielle Lang
                                                  Deputy Director of Voting Rights
                                                  Campaign Legal Center




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